                                                     UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF MICHIGAN
                                                            SOUTHERN DIVISION

IN RE: DENNIS J. HARROW                                                                                   Case No.: 04-33306-DOF
       209 HANSBERGER ST.                                                                                 Judge: DANIEL S. OPPERMAN
       ALMONT, MI 48003
                                  TRUSTEE'S FINAL ACCOUNTING AND REPORT AND PROOF OF SERVICE

                                                      CONVERTED AFTER CONFIRMATION

                                                                                                                      SSN#1 - XXX-XX-8298
                                                                                                                      SSN#2 - XXX-XX-6363

This Case was                                  The Plan was                                   The Case was
commenced on 08/11/2004                        Confirmed on 01/14/2005                        concluded on 11/14/2008

           Your trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt and
of all disbursements, and are incorporated by reference in this report.



RECEIPTS: Amounts paid to the trustee by or for the Debtor for the benefit of creditors:                                                $114,345.00

DISBURSEMENTS TO CREDITORS                     CLASS                           AMOUNT                  AMOUNT PAID                      BALANCE
CREDITOR NAME                                                                  ALLOWED             PRINCIPAL     INTEREST                  DUE
ALLIED INTERSTATE INC.                         UNSECURED                               0.00                0.00               0.00               0.00
    02 CREDIT CARD
CAPITAL ONE                                    LATE UNSECURED                          0.00                0.00               0.00               0.00
    01 CREDIT CARD
CHARMING SHOPPES/ FASHION BUG                  UNSECURED                             745.18                0.00               0.00             67.07
    03 CREDIT CARD
CINGULAR WIRELESS                              UNSECURED                             627.29                0.00               0.00             56.46
    04 CELL PHONE
CITI FINANCIAL                                 MORTGAGE ARREARS                        0.00                0.00               0.00               0.00
    CURRENT AT FILING
COUNTRYWIDE HOME LOANS                         MORTGAGE ARREARS                    6,299.62           2,875.21                0.00           3,424.41
    THRU 8/04
COUNTRYWIDE HOME LOANS                         MONTHLY MORTGAGE PAYMENT 0.00                         80,338.85                0.00               0.00
    209 HANSBERGER ST.
DISH NETWORK                                   UNSECURED                             284.51                0.00               0.00             25.61
    04 CABLE TV
ECAST SETTLEMENT CORPORATION                   UNSECURED                           1,564.96                0.00               0.00            140.85
    02 CREDIT CARD
FORD MOTOR CREDIT                              UNSECURED                             564.35                0.00               0.00             50.79
    Split Claim
FORD MOTOR CREDIT                              SECURED CREDITOR                    2,550.00           1,049.80             568.88            1,515.20
    95 CHEVY BLAZER
FORD MOTOR CREDIT                              UNSECURED                         11,930.14                 0.00               0.00           1,073.71
    97 CHEVY BLAZER
KAREN KLOS                                     UNSECURED                           2,238.28                0.00               0.00            201.45
    99 MISC. DEBT
KORTES IGA                                     UNSECURED                           2,472.86                0.00               0.00            222.56
    03 JUDGMENT
LISA WIGGINS                                   UNSECURED                               0.00                0.00               0.00               0.00
    LOAN
MARY AND MITCHELL TERZICH                      UNSECURED                               0.00                0.00               0.00               0.00
    02 MISC. DEBT
MICHIGAN DEPARTMENT OF TREAS.                  PRIORITY                              757.62                0.00               0.00            757.62
    02-03 INCOME
NATIONWIDE INSURANCE                           UNSECURED                               0.00                0.00               0.00               0.00
    04 CREDIT CARD


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DISBURSEMENTS TO CREDITORS                    CLASS                          AMOUNT                  AMOUNT PAID                       BALANCE
CREDITOR NAME                                                                ALLOWED             PRINCIPAL     INTEREST                   DUE
RESURGENT CAPITAL SERVICES                    SECURED CREDITOR                 17,033.22              6,842.96        4,013.36            10,292.16
   209 HANSBERGER (2ND)
RETAILERS NATIONAL BANK-MARSHA                UNSECURED                           449.32                  0.00             0.00                 40.44
   03 CREDIT CARD
ROUNDUP FUNDING LLC                           UNSECURED                          3,701.72                 0.00             0.00                333.15
   03 CREDIT CARD
TARGET NATIONAL BANK                          UNSECURED                           632.98                  0.00             0.00                 56.97
   01 CREDIT CARD
DENNIS J. HARROW                              REFUND                           10,333.00             10,333.00

SUMMARY OF CLAIMS ALLOWED AND PAID
                        SECURED           PRIORITY          GENERAL                 LATE           SPECIAL            TOTAL
AMT. ALLOW              106,221.69            757.62         25,211.59                             10,333.00      142,523.90          TOTAL PAID
PRIN. PAID               91,106.82              0.00              0.00                             10,333.00      101,439.82        PRIN. AND INT.
INT. PAID                 4,582.24              0.00              0.00                                              4,582.24            106,022.06

OTHER DISBURSEMENTS UNDER ORDER OF COURT:
              DEBTORS' ATTORNEY                                                  FEE ALLOWED                     FEE PAID
CHIMKO, DZIALO & DIMOVSKI PC                                                              812.82                        812.82
CHIMKO, DZIALO & DIMOVSKI PC                                                            4,010.72                      4,010.72

COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION:

      FILING FEE                            TRUSTEE                                OTHER

       & DEPOSIT                     EXP. & COMPENSATION                            COST
                                             FUND
               185.00                        3,499.40                                       0.00                                    3,684.40

          WHEREFORE, your Petitioner prays that a Final Decree be entered discharging Carl L. Bekofske as Trustee and
releasing Carl L. Bekofske and his surety from any and all liability on account of the within proceedings, and for such other and
further relief as is just.



DATED: 02/10/2009                                                             /s/ Carl L. Bekofske
                                                                              Carl L. Bekofske




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